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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA
_______________________________________
                                         )
COMMITTEE ON WAYS AND                    )
MEANS, UNITED STATES HOUSE               )
 OF REPRESENTATIVES,                     )
                                         )
            Plaintiff,                   )
                                         )
                       v.                )
                                         ) No. 1:19-cv-1974 (TNM)
 UNITED STATES DEPARTMENT                )
OF THE TREASURY, et al.                  )
                                         )
           Defendants,                   )
                                         )
DONALD J. TRUMP, et al.,                 )
                                         )
           Defendant-Intervenors.        )
                                         )

                REPLY MEMORANDUM IN SUPPORT OF
    DEFENDANTS’ AND DEFENDANT-INTERVENORS’ MOTION TO DISMISS
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                                        INTRODUCTION

         As this Court has observed, the Founders “emerged from the Revolution determined to

establish a government incapable of repeating the tyranny from which the Thirteen Colonies

escaped.” U.S. House of Reps. v. Mnuchin, 379 F. Supp. 3d 8, 10 (2019).1 “They did so by splitting

power across three branches of the federal government and by providing each the tools required to

preserve controls over its functions.” Id. For hundreds of years after the Founding, the system

worked as the Founders designed it: ambition counteracted ambition and the political branches

worked out their disputes using the particular tools that the Constitution gave them each.

         The fundamental question in this proceeding, see ECF No. 44 (“Mot.”), is whether the

political branches must continue to work out their differences through the political process, or

instead whether the “Constitution’s entirely anticipated political arm wrestling” should be

“plac[ed] . . . into permanent judicial receivership.” United States v. Windsor, 570 U.S. 744, 791

(2013) (Scalia, J., dissenting). As set out in Defendants’ motion, there are four reasons why the

Court should not—indeed, cannot—decide the merits of this case.

         First, this inter-branch dispute does not present a case or controversy within the meaning

of Article III. While federal courts are of course capable of providing answers to separation-of-

powers questions, the mere existence of such a question does not itself create a justiciable

controversy. “The irreplaceable value of the [judicial] power” is to protect “the constitutional

rights and liberties of individual citizens,” Raines v. Byrd, 521 U.S. 811, 829 (1997), and a case or

controversy does not arise simply because the political branches disagree about the scope of their

respective powers. Congressional suits against the Executive Branch are foreign to Article III and

its history, the dispute here entails no injury to Congress cognizable within the judicial power of

the United States, and the Committee lacks the authority to sue on the House’s behalf in any event.


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    Appeal filed, No. 19-5176 (D.C. Cir. 2019).
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       Second, the Court lacks statutory jurisdiction. Even if Congress could grant federal courts

subject matter jurisdiction to enforce its informational demands to the Executive Branch, Congress

has nowhere attempted to confer jurisdiction upon the courts to enforce subpoenas issued by the

House. While the Committee attempts to muddy the historical record, this much is clear:

Congressional suits to enforce subpoenas were unheard of throughout most of American history,

and when in 1978 Congress for the first time enacted a statute conferring jurisdiction for certain

subpoena enforcement actions brought by the Senate and its committees, it did not enact a

comparable provision for the House or its committees. Instead, it continued to substantively

modify the statute conferring jurisdiction for Senate subpoena-enforcement suits as late as 1996,

long after it had amended the general federal-question statute to remove the amount-in-controversy

requirement for all cases arising under federal law. The Committee does not seriously dispute that

its interpretation of the general federal-question statute—as itself providing jurisdiction over suits

of this kind—renders 28 U.S.C. § 1365(a) superfluous, makes the significant limits on its

application to subpoenas to Executive Branch officials meaningless, and means the 1996

amendments to that provision were a pointless exercise. A single House of Congress, much less a

single Committee, cannot end-run the statutory limits on federal jurisdiction adopted through

bicameralism and presentment.

       Third, the Court should not adjudicate the merits of this suit unless and until the Committee

earnestly pursues and exhausts the constitutionally mandated negotiation and accommodation

process. The Committee does not dispute that it filed suit following a single briefing on the Internal

Revenue Service (“IRS”) Presidential audit program, and without having received the Treasury

Department’s responses to its written questions. The Committee primarily argues that further

negotiations are unwarranted because Defendants have already determined that they cannot

lawfully provide the requested tax returns and return information. But the premise of the


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Committee’s lawsuit is that the Committee has a legislative interest in the Presidential audit

program, not in obtaining the President’s tax returns for their own sake. If that interest is sincere,

the Committee has provided no reason why further discussions could not address the Committee’s

purported legislative interest in how the program operates. Indeed, the Committee has not even

meaningfully explained how its request for six years of the President’s personal tax returns and

return information—including for four years before the President became President—is reasonably

related to its purported legislative interest, let alone indispensable to it.

        Fourth, the Committee lacks a cause of action. Congress knows how to create a cause of

action for informational disputes and rights arising under the tax code, and it created no such right

of action here. The Committee may not circumvent that decision by relying on the “traditional”

powers of the courts of equity because, as the Committee concedes, there is no tradition of federal

courts directly enforcing congressional subpoenas or informational rights that Congress has

granted itself by statute. Rather, the time-honored enforcement mechanism for Congress’s

informational inquiries is the criminal contempt statute, any inherent authority that Congress

possesses itself, and—vis-à-vis the Executive Branch—the accommodation process backed by the

powers the Constitution actually confers on Congress in Article I. The Administrative Procedure

Act (“APA”) is inapplicable because the carefully calibrated historical mechanisms for enforcing

Congress’s limited powers of inquiry preclude judicial review, inter-branch reporting is not

“agency action” within the meaning of the APA, and Congress is not a “person” that the APA

authorizes to sue. Finally, the Committee’s mandamus and non-statutory review claims cannot be

squared with Defendants’ role as “gatekeeper” of confidential tax information and their duty to

take care that the tax code is faithfully executed consistent with the limits of Congress’s power of

inquiry under Article I.

        For any and all of these reasons, the Court should grant Defendants’ motion to dismiss.


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                                            ARGUMENT

I.     The Court Lacks Jurisdiction under Article III.

       A.      This Dispute Is Not of the Type Traditionally Thought Capable of Resolution
               Through the Judicial Process.

       Defendants’ motion demonstrated that the Committee lacks standing because the dispute

at issue is not of the kind “traditionally thought to be capable of resolution through the judicial

process.” Raines, 521 U.S. at 818-19; see Mot. at 14. From the Founding onwards, Congress and

the Executive Branch have repeatedly clashed over access to information, but for nearly two

centuries, Congress never attempted to resolve those impasses through civil litigation, instead of

through its own powers under Article I and the negotiation and accommodation process mandated

by the Constitution. See Mot. at 15-18. The Committee’s arguments to the contrary fail.

       First, the Committee contends that “the mere fact that a case may raise separation-of-

powers questions is not a basis for dismissing suit.” ECF No. 55 (“Opp.”) at 26 (citing United

States v. Nixon, 418 U.S. 683 (1974)); see also id. at 27 n.30 (citing other cases raising separation

of powers issues). Of course. But federal courts resolve separation of powers disputes only in the

context of cases that also involve the “the constitutional rights and liberties of individual citizens,”

Raines, 521 U.S. at 829; see also Marbury v. Madison, 5 U.S. (1 Cranch) 137, 170 (1803) (“The

province of the court is, solely, to decide on the rights of individuals, not to inquire how the

executive, or executive officers, perform duties in which they have a discretion.”); Bond v. United

States, 564 U.S. 211, 222-23 (2011) (providing examples). To take just one example cited by

Plaintiffs, when the Supreme Court decided the constitutionality of the legislative veto in INS v.

Chadha, 462 U.S. 919 (1983), it did so not because the Executive sued Congress seeking a

determination as to the legislative veto’s constitutionality, but because a specific individual

seeking review of a deportation order brought a claim challenging that order’s compatibility with

the separation of powers. Chadha, 462 U.S. at 927-28; see also U.S. House of Reps., 379 F. Supp.

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3d at 15-16. In other words, while the presence of a separation of powers question does not

preclude jurisdiction, it also does not provide it. While there might be “nothing irrational about a

system” that allows the political branches to sue each other whenever they disagree about their

respective powers, “it is obviously not the regime that has obtained under our Constitution to date.”

Raines, 521 U.S. at 828.

       For that reason, the Committee’s observation that “[t]he legal issues presented in this case

are . . . within the competence of an Article III court to decide,” Opp. at 26, misses the point. For

as long as the federal courts have existed, they have refused to decide cases that they have the

technical wherewithal to decide when the cases do not present a case or controversy under Article

III. See, e.g., Letter from the Justices to George Washington (Aug. 8, 1793), reprinted in Hart &

Wechsler’s The Federal Courts and the Federal System 79 (Richard H. Fallon et al. eds., 5th ed.

2003). As Defendants have noted, see Mot. at 36, the Supreme Court was obviously capable of

deciding the constitutionality of the Line Item Veto Act—it did so in Clinton v. City of New York,

524 U.S. 417 (1998)—but it refused to do so in Raines because it is not the judiciary’s role to

provide an “amorphous general supervision of the operations of government.” 521 U.S. at 829.

       Second, the Committee asserts that, “since nearly the beginning of the Republic, each

House of Congress has acted separately and without the intervention of the Executive Branch to

enforce its subpoenas—by arresting and detaining contemnors, including contumacious Executive

Branch officials.” Opp. at 28; accord id. at 29 (describing how House has “exercised its power of

contempt to arrest, detain, and try individuals”); see also Constitutional Law Scholars Amicus

(ECF No. 57) at 4. But that history only undermines the Committee here. When the House

historically enforced its demands for information, it did so without the intervention of the Judicial

Branch. As the Supreme Court has noted, it “has been customary for [Congress] to rely on its own

power to compel attendance of witnesses and production of evidence in investigations made by it


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or through its committees.” Reed v. Cty. Comm’rs of Del. Cty., Pa., 277 U.S. 376, 388 (1928). In

stark contrast, for nearly two hundred years after the founding, it appears to have been universally

understood that Congress, a house of Congress, or a congressional committee, could not sue the

Executive Branch directly. See Raines, 521 U.S. at 826-29. The House’s authority to issue

compulsory process enforceable by its Sergeant at Arms simply does not speak to whether the

House may enlist the judiciary as its enforcer against the Executive. See Reed, 277 U.S. at 389

(“Authority to exert the powers of the Senate to compel production of evidence differs widely from

authority to invoke judicial power for that purpose”). Indeed, if anything, the fact that Congress

traditionally resorted to the difficult process of either itself arresting contemnors or persuading the

Executive to pursue a criminal contempt action, while consistently eschewing the “highly

attractive” and easier path of filing a civil suit on its own, strongly suggests that “the power was

thought not to exist.” Printz v. United States, 521 U.S. 898, 905 (1997). And while the Committee

asserts that Raines concerned only lawsuits brought by individual legislators, Opp. at 22, the

Committee ignores that Raines focused on the historical absence of inter-branch suits between

Congress itself and the President himself, rather than individual members of the legislative and

executive branches, 521 U.S. at 826-29.2

       Finally, the Committee offers the policy argument that “a civil enforcement action like this

one is more practical and desirable than the alternatives,” including the exercise of the House’s

inherent contempt power or referral to the Executive Branch for prosecution. See Opp. at 31. To

be sure, it would raise grave constitutional issues for the House to try to use inherent contempt




   2
      The Committee’s assertion that Defendants’ reading of Raines necessarily implies the
invalidity of 28 U.S.C. § 1365 as applied to private parties is thus incorrect. See Opp. at 22 n.28.
This Court can rest on Raines’s emphasis on the historical absence of inter-branch suits without
determining whether the Senate would have a judicially cognizable interest in a suit against private
parties.

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authority against an Executive Branch official, or for the House to try to compel the Executive

Branch to launch a criminal prosecution against an Executive officer. But Congress has plenty of

other tools, including both the constitutionally mandated negotiation and accommodation process

and the threat of legislative reprisals backing that process. In any case, the fact that the Committee

now deems impractical or undesirable the tools it actually possesses cannot justify the creation of

a civil enforcement power that has no basis in the text or history of the Constitution.

       B.      The Committee Fails to State a Cognizable Injury.

       In addition to being incompatible with the separation of powers, the Committee’s suit is

not justiciable because the Committee fails to identify an injury that is sufficiently “concrete and

particularized” to satisfy Article III. Raines, 521 U.S. at 819. The Committee’s arguments to the

contrary are wrong.

       First, the Committee argues that Raines is irrelevant because it involved only individual

legislators. See Opp. at 22. To the contrary, Raines emphasized at the outset that a “key”

requirement of Article III is to demonstrate a “personal injury,” 521 U.S. at 818-19, which is

lacking when a plaintiff who is not itself a sovereign entity sues based on alleged impairment of a

“political power,” see id. at 821; see also Barnes v. Kline, 759 F.2d 21, 69 (D.C. Cir. 1984) (Bork,

J., dissenting) (“[I]f Congress may sue under these circumstances, it should follow that a

congressional plaintiff may sue whenever he plausibly alleges an actual impairment of his

lawmaking powers. The harm, in each case, is of the same kind—an injury to lawmaking

powers.”). Although the Supreme Court has nevertheless allowed sub-components of a state

government to sue, it has expressly admonished that its holding does not extend to the federal

government given the heightened separation-of-powers concerns presented. See Ariz. State

Legislature v. Ariz. Indep. Redistricting Comm’n, 135 S. Ct. 2652, 2665 n.12 (2015) (noting that

the case before it “does not touch or concern the question whether Congress has standing to bring


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a suit against the President” because “[t]here is no federal analogue to Arizona’s initiative power”

and “a suit between Congress and the President would raise separation-of-powers concerns”).

       Second, the Committee’s assertion of informational injury fails.             The Committee’s

informational-injury argument is the following syllogism: informational injuries can support

standing; the Committee is asserting an informational injury; therefore, the Committee has

standing. But while Congress may generally grant private parties a right to certain information,

see FEC v. Akins, 524 U.S. 11, 21 (1998); Pub. Citizen v. U.S. Dep’t of Justice, 491 U.S. 440, 449

(1989), the information sought here “is not claimed in any private capacity,” Raines, 521 U.S. at

821. Moreover, Congress cannot grant to itself, or any of its members, power that it does not

possess under the Constitution. See Bowsher v. Synar, 478 U.S. 714, 726 (1986) (“Congress

cannot grant to an officer under its control what it does not possess.”); see also Waxman v.

Thompson, No. 04-3467, 2006 WL 8432224, at *5 (C.D. Cal. July 24, 2006) (“Where private

plaintiffs assert the violation of a statute that confers a right to obtain information on ‘any person,’

the Supreme Court has held that deprivation of the right to access constitutes an injury in-fact.”

(emphasis added)). And though an “implied” power “to secure needed information” is an

“attribute of [Congress’s] power to legislate,” McGrain v. Daugherty, 273 U.S. 135, 161, 175

(1927), that power is an “auxiliary” one which exists only as “necessary and appropriate to make

[Congress’s] express powers effective,” id. at 173. It follows that, unless Plaintiff’s asserted

informational injury causes a cognizable institutional injury, there is no standing.               The

Committee’s own authority says as much. See U.S. House of Reps. v. U.S. Dep’t of Commerce,

11 F. Supp. 2d 76, 86 (D.D.C. 1998) (explaining that “a legislative body suffers injury when it

cannot obtain information necessary to perform its constitutional legislative or judicial functions

. . . .” (emphasis added)). The Committee’s theory of informational injury is thus coterminous

with, and redundant of, its theory of institutional injury.


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       Third, the Committee fares no better with its theory that “Defendants’ refusal to comply

has inflicted institutional injuries on the Committee by preventing it from carrying out the House’s

constitutionally assigned responsibilities.” Opp. at 18. While the Committee characterizes

Defendants as challenging “how much injury the Committee has suffered,” Opp. at 25 (emphasis

omitted), Defendants’ point is actually that “abstract dilution of institutional legislative power” at

the hands of the Executive Branch is insufficiently “concrete and particularized” to sustain

standing—period. Raines, 521 U.S. at 819, 821, 825-26. Raines holds that the loss of effectiveness

of a particular vote is not a cognizable injury for purposes of Article III, and it follows a fortiori

that lack of access to information that might inform a particular vote is also not a sufficiently

concrete and particularized injury. See Waxman, 2006 WL 8432224, at *7 (“Because plaintiffs do

not claim that defendant’s failure to produce the requested documents nullified their votes, and

assert only that they have been required to vote and legislate without full access to information,

Coleman provides no basis for a finding that plaintiffs have standing to sue.”); see also Cummings

v. Murphy, 321 F. Supp. 3d 92, 110 (D.D.C. 2018).

       The Committee’s only response to cases like Waxman and Cummings is to observe that

those cases were brought by individual legislators. See Opp. at 24. That is true, but those

individual legislators claimed that Congress had delegated to them, by statute, the right to demand

information from the Executive on behalf of Congress. See 5 U.S.C. § 2954; Cummings, 321 F.

Supp. 3d at 108. In that respect, the Waxman and Cummings plaintiffs had no less of a basis to

assert institutional injury than the Committee here.          And those cases’ holdings that an

informational injury is not cognizable under Article III for members of Congress seeking

information on behalf of Congress therefore applies here as well.3


   3
      The Committee further suggests that “[w]hen a party refuses to comply with [a] subpoena . . .
that subpoena is nullified by the refusal.” Opp. at 26. To the extent that the Committee means to


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       C.      Lawsuits of This Kind Imperil the Constitution’s Allocation of Power Among
               the Branches of the Federal Government.

       Lawsuits of this nature threaten the Constitution’s allocation of powers in at least three

ways. First, such lawsuits threaten the independence of the judiciary. It is not the role of federal

courts to provide “amorphous general supervision of the operations of government.” Raines, 521

U.S. at 829. Rather, the courts’ limited role—resolving disputes between injured individuals—

has “maintained public esteem for the federal courts and has permitted the peaceful coexistence of

the countermajoritarian implications of judicial review and the democratic principles upon which

our Federal Government in the final analysis rests.” Raines, 521 U.S. at 829; see also U.S. House

of Reps., 379 F. Supp. 3d at 10-11 (“The ‘complete independence’ of the Judiciary is ‘peculiarly

essential’ under our Constitutional structure, and this independence requires that the courts ‘take

no active resolution whatever’ in political fights between the other branches.” (quoting The

Federalist No. 78 (Alexander Hamilton))). To avoid entangling federal courts in political disputes,

Congress checks the Executive Branch using political tools, not civil litigation. “Congress has

several political arrows in its quiver to counter perceived threats to its sphere of power,” id. at 22,

and the Committee’s fear that dismissing this lawsuit would “damage the allocation of powers in

the Constitution” is thus overblown. See Opp. at 31.

       Second, it threatens the separation of powers for Congress to initiate judicial proceedings

against the Executive Branch to compel compliance with a legal obligation. See Mot. at 24. While



invoke the “vote nullification” doctrine of Coleman v. Miller, 307 U.S. 433 (1939), that attempt
fails: the House’s ability to issue subpoenas or request information is not nullified where, as here,
the subpoena or other legislative request remains in force and simply has not been satisfied. See
Campbell v. Clinton, 203 F.3d 19, 22 (D.C. Cir. 2000) (“The Court did not suggest in Raines that
the President ‘nullifies’ a congressional vote and thus legislators have standing whenever the
government does something Congress voted against, still less that congressmen would have
standing anytime a President allegedly acts in excess of statutory authority.”); see also Virginia
House of Delegates v. Bethune-Hill, 139 S. Ct. 1945, 1954 (2019) (rejecting Coleman nullification
theory).

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the Committee points to the “power that the House and Senate possess independently of each other

and of the President,” Opp. at 29, that is the power to use their own processes to compel compliance

with their subpoenas. See Reed, 277 U.S. at 388. In contrast, the “power to seek judicial relief . . .

cannot possibly be regarded as . . . in aid of the legislative function.” Buckley v. Valeo, 424 U.S.

1, 138 (1976); see also Springer v. Gov’t of Philippine Islands, 277 U.S. 189, 202 (1928). That is

why the House previously has disclaimed any power to bring “suit under the myriad of general

laws authorizing aggrieved persons to challenge agency action” and dismissed as “speculative”

the possibility that it would attempt “to afford itself broad standing to challenge the lawfulness of

Executive conduct.” Brief for U.S. House of Representatives at 17, 22 & n.25, U.S. Dep’t of

Commerce v. U.S. House of Reps., 525 U.S. 316 (1999), No. 98-404, 1998 WL 767637 (1998).

       Plaintiffs respond that Defendants’ arguments leave Congress “dependent on the discretion

of the Executive Branch to assist.” Opp. at 1. If that is true, it is because the Legislative Branch’s

“dependence” upon the Executive Branch to bring enforcement proceedings alleging violations of

legal obligations is a central feature of the Constitution’s separation of powers—not a bug in the

system. Congress has numerous political tools it can use to try to compel the Executive Branch

with respect to its Article II powers, just as the Executive Branch has numerous political tools it

can use to try to get Congress to pass particular laws under Article I. As a matter of legal

compulsion, however, Congress can no more compel the Executive to bring particular prosecutions

than the Executive may compel Congress to enact particular statutes.

       Third, permitting the House to file lawsuits against the Executive Branch would especially

upend the separation of powers given the Committee’s categorical claim that it is itself immune

from similar lawsuits. See Mot. at 25-26. The Committee offers no argument in response.




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       D.      The House of Representatives Cannot Authorize a Lawsuit Without
               Specifically Voting to Do So.

       The Committee does not dispute that authorization by the House of Representatives is a

necessary precondition to its filing suit against the Executive Branch. Opp. at 32-36; see also

Virginia House of Delegates v. Bethune-Hill, 139 S. Ct. 1945 (2019) (dismissing a suit brought by

a sub-component of the institution allegedly injured); Raines, 521 U.S. at 829 (“attach[ing] some

importance to the fact that appellees have not been authorized to represent their respective Houses

of Congress in this action”); Cummings, 321 F. Supp. 3d at 115 (“[T]here are good reasons for

courts to look to the presence of authorization as a necessary, even if not sufficient, factor in

evaluating standing in cases that pit the Executive and Legislative Branches against one another.”);

Brief of Amicus Curiae Bipartisan Legal Advisory Grp. of U.S. House of Representatives in Supp.

of Reversal, Waxman v. Evans, 52 F. App’x 84 (9th Cir. 2002) (No. 02-55825), 2002 WL

32115554 (“Under the House rules a committee subpoena cannot be enforced without the approval

of the House. Thus, while a committee can issue a subpoena to an executive agency, the entire

body must concur before that subpoena can be enforced.”). Nor does it contend that the House

actually has voted to authorize this lawsuit. Instead, the Committee’s sole argument is that because

the House has the authority to “determine the Rules of its proceedings,” U.S. Const. art. I, § 5, cl.

2, it was entitled to declare that “a vote of the Bipartisan Legal Advisory Group to authorize

litigation . . . is the equivalent of a vote of the full House of Representatives.” See H.R. Res. 430,

116th Cong. (2019) (emphasis added). Opp. at 35; see also Former House GCs Amicus (ECF No.

56) at 12.

       But that argument, which would allow the House to delegate all its institutional authority

to its leadership and thereby shield its members from the political consequences of the House’s

actions, has no basis in law, logic, or historical practice. The Committee contends that “the

House’s choice . . . to rely on BLAG for these purposes is no different than the House’s choice to

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establish a particular committee structure or to assign certain tasks to particular standing or select

committees,” Opp. at 32, but that is wrong. Article I does not require that the House organize itself

into committees or say anything about how committees might be structured. The Committee’s

examples of committee assignments to manage various internal proceedings are thus irrelevant in

light of the Committee’s tacit concession—compelled by the above-cited authorities—that at a

bare minimum Article III requires that the House actually authorize a lawsuit against the Executive

Branch purporting to assert the House’s interests. See Raines, 521 U.S. at 829 n.10 (“‘Generally

speaking, members of collegial bodies do not have standing to [take litigation actions] the body

itself has declined to take.’” (quoting Bender v. Williamsport Area Sch. Dist., 475 U.S. 534, 544

(1986)). That the House has some discretion to organize itself how it thinks best under Article I

does not mean that it may ignore the Article III requirement of authorizing litigation against the

Executive before filing it.

       Indeed, it would have wide-ranging, radical consequences for this Court to accept the

House’s astonishing suggestion that it can use its “rulemaking power” to make a “delegation of

authority it can exercise on its own to a committee.” Opp. 33. After all, the quintessential authority

the House “can exercise on its own” is to vote for or against proposed legislation, but it would be

patently unconstitutional for the House to make an unfettered delegation of its authority to vote on

any and all legislation to BLAG (or, indeed, to the Speaker alone). See Chadha, 462 U.S. at 953

n.16 (“Congress’ authority to delegate portions of its power to administrative agencies provides

no support for” Congress delegating power to itself); cf. United States v. Ballin, 144 U.S. 1, 6-8

(1892) (“the general rule of all parliamentary bodies is that . . . the act of a majority of the quorum

is the act of the body”; “a major part of the whole is necessary to constitute a quorum, and a

majority of the quorum may act”). Yet that is the direct implication of the House’s argument here.




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       Finally, the Committee does not dispute that, in the past cases where the House has sought

to enforce subpoenas against the Executive Branch, it specifically voted to authorize the lawsuit

at issue. See Mot. at 28 n.16.4 And this House plainly knows how to do so—the same resolution

that purported to delegate authority to authorize lawsuits to the BLAG specifically authorized other

litigation, including the litigation against former White House Counsel Donald McGahn that is

now pending in this Court. See H.R. Res. 430. Of course, one can understand why the House

might prefer to delegate the approval of litigation to its leadership: litigation may be unpopular,

and so it might be politically advantageous to the House to avoid putting certain questions to all

its members. The very point of the authorization requirement, however, is to ensure that “only

fully considered inter-branch conflicts enter the judicial realm.” Cummings, 321 F. Supp. 3d at

115. If the House is unwilling to put the question whether the House should seek the President’s

tax returns to its own members, it should not be able to put it to this Court.

       E.      Defendants’ Argument Is Consistent With D.C. Circuit Case Law.

       Finally, notwithstanding all of the reasons why lawsuits of this kind are not justiciable, the

Committee contends that the “D.C. Circuit has recognized that the House of Representatives may

sue to enforce a subpoena.” Opp. at 16. That is not correct. Senate Select Committee on

Presidential Campaign Activities v. Nixon, 498 F.2d 725 (D.C. Cir. 1974) (en banc), contained no



   4
       The amicus brief filed by former general counsels of the House contends that the
authorization provided to Congressman Moss in AT&T I is “legally indistinguishable from the
circumstances here.” Former House GCs Amicus at 13. In AT&T I, however, the House passed a
resolution “authoriz[ing] appellant Congressman Moss to intervene on behalf of the interest of the
House.” United States v. AT&T, 551 F.2d 384, 393 n.16 (D.C. Cir. 1976); see H.R. Res. 1420,
94th Cong. (1976) (“[T]he Chairman of the Subcommittee on Oversight and Investigations of the
Committee on Interstate and Foreign Commerce is authorized to intervene and appear in the
pending action entitled ‘United States, plaintiff, against American Telephone and Telegraph Co.,
et al., defendant,’ Civil Action 76-1372 . . . .”). Just as in Holder and Miers, a majority of the
members of the House thus determined that the House should participate in the specific case.



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holding on the jurisdictional issue, and United States v. AT&T, 551 F.2d 384 (D.C. Cir. 1976)

(“AT&T I”), involved a lawsuit brought by the Executive Branch against a private telephone

company, not a lawsuit brought by Congress against the Executive Branch. The case therefore

hinged on an adjudication of individual rights that is absent here. While AT&T I did permit the

House to appeal, Defendants’ motion explained that by the time the D.C. Circuit did so, the district

court had quashed the subpoena, and thus AT&T I did not hold that the House has standing to

challenge mere non-compliance with a still-extant subpoena. See Mot. at 34. The Committee

offers no response. Thus, particularly in light of the intervening decision in Raines, AT&T I should

not be extended to the situation presented here.5

II.       The Court Lacks Statutory Subject Matter Jurisdiction.

          The Court lacks statutory jurisdiction for a simple reason: 28 U.S.C. § 1365(a), first

enacted in 1978, “confers jurisdiction on the courts to enforce Congressional subpoenas” in limited

circumstances, H.R. Rep. No. 95-1756, at 80 (1978), but it does so only for certain subpoena

enforcement actions brought by the Senate and its committees. In contrast, it is undisputed that

Congress has deliberately chosen not to enact a comparable statute for the House and its

committees when seeking to obtain information, through subpoena or otherwise. Mot. at 29-32.

Contrary to the Committee, see Opp. at 36, this argument encompasses all the Committee’s claims,



      5
      Although the Office of Legal Counsel previously suggested that Congress might be able to
enforce its subpoenas against the Executive Branch through civil litigation in the 1980s, see
Prosecution for Contempt of Congress of an Executive Branch Official Who Has Asserted a Claim
of Executive Privilege, 8 U.S. Op. O.L.C. 101, 105 n.6, 137 (1984); Response to Congressional
Requests for Information Regarding Decisions Made Under the Independent Counsel Act, 10 U.S.
Op. O.L.C. 68, 83, 86, 88 (1986), these opinions were issued prior to the Supreme Court’s decision
in Raines, at a time when the D.C. Circuit accepted a theory of legislator standing that permitted
judicial resolution of inter-branch disputes. In light of Raines, judicial resolution of inter-branch
disputes of this kind is not permissible, as the D.C. Circuit has since recognized, see Chenoweth
v. Clinton, 181 F.3d 112, 114 (D.C. Cir. 1999), and as the Department of Justice has consistently
contended, beginning with its briefs in Walker v. Cheney, 230 F. Supp. 2d 51 (D.D.C. 2002).


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not merely the claim entitled “Subpoena Enforcement.” See Mot. at 2, 29. Neither the APA nor

§ 6103 is a source of subject-matter jurisdiction, and the Committee acknowledges that those

claims must be brought, if at all, under § 1331. Opp. at 36. Regardless of how the Committee

styles its claims, Congress has made clear that § 1331 does not confer jurisdiction for lawsuits by

Congress seeking information from the Executive Branch.6

       The Committee nonetheless asserts that it may seek enforcement of its demands for

information under the general federal-question statute, 28 U.S.C. § 1331. Opp. at 36-43. But it is

a basic precept that “[s]pecific terms prevail over the general in the same or another statute which

otherwise might be controlling.” Howard v. Pritzker, 775 F.3d 430, 441 (D.C. Cir. 2015). The

Committee cannot reasonably dispute that § 1365(a) is more specific on the subject of jurisdiction

for subpoena enforcement than § 1331. See Opp. at 36 (referencing “Section 1331’s more general

jurisdictional grants”). And under the canon against surplusage, “effect must be given, if possible,

to every word, clause and sentence of a statute . . . so that no part will be inoperative or

superfluous, void or insignificant.” In re Surface Min. Regulation Litig., 627 F.2d 1346, 1362

(D.C. Cir. 1980) (quotation marks omitted). The Committee likewise cannot seriously dispute that

its interpretation of § 1331 makes § 1365(a) superfluous and its limitations meaningless.7

       The Committee counters that “[r]edundancies across statutes are not unusual events in

drafting,” Opp. at 41 (quoting Conn. Nat’l Bank v. Germain, 503 U.S. 249, 253 (1992)), but the



   6
      That same analysis also applies to mandamus relief under 28 U.S.C. § 1361, another highly
general jurisdictional statute that long predates the 1996 amendments to § 1365(a).
    7
      The Committee notes, see Opp. at 41, that § 1365(b) authorizes district courts to issue orders
compelling compliance with certain Senate subpoenas, and clarifies that any action, contempt
proceeding, or sanction imposed pursuant to § 1365(b) does not abate upon adjournment of the
Senate if the relevant Senate body certifies a continuing interest in the material. 28 U.S.C.
§ 1365(b). But the Committee never even attempts to establish that § 1365(b) confers powers that
a court exercising jurisdiction under § 1331 would otherwise lack. Moreover, regardless of
whether the remedial provisions in § 1365(b) would be superfluous if § 1331 were available, the
jurisdictional grant in § 1365(a) still would be.

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Committee’s interpretation entails far more than mere “redundancies.” Rather, the Committee’s

construction renders a separate jurisdictional statute superfluous and subsumes it within a general

jurisdictional grant—even though Congress amended that separate statute long after it amended

§ 1331 to remove the amount-in-controversy requirement for all federal question cases. See Mot.

at 30. Whether or not it was “a minor clarifying” measure (Opp. at 40), the Committee provides

no explanation whatsoever why Congress in 1996 would have substantively amended § 1365

specifically to expand the set of government officials that the Senate could sue, if the Senate

already could have sued those very officials under § 1331 as it stood going back to 1976. See

Yates v. United States, 135 S. Ct. 1074, 1085 (2015) (plurality opinion) (noting that “[t]he

Government acknowledges that, under its reading, [18 U.S.C.] § 1519 and [18 U.S.C.] § 1512(c)(1)

‘significantly overlap’” and “[n]owhere does the Government explain what independent function

§ 1512(c)(1) would serve if the Government is right about the sweeping scope of § 1519”).8 The

Committee states that “[w]hen Congress removed the amount-in-controversy requirement from

Section 1331, it effectively rendered redundant several other provisions,” and that “Congress was

not required to repeal those provisions to eliminate any redundancies.” Opp. at 41 n.45. But again,

Congress did not merely fail to repeal § 1365(a)—it substantively amended that provision after

the amendments to § 1331, which would make no sense if § 1331 independently supplied

jurisdiction.




    8
     The 1996 amendments delineated the circumstances in which § 1365(a) confers jurisdiction
for Senate subpoena enforcement actions against executive officials (providing that the statute
would confer jurisdiction in cases in which an executive official’s refusal to comply was based
upon a personal privilege). See Pub. L. No. 104-292, § 4, 110 Stat. 3459 (Oct. 11, 1996). Even
assuming that this amendment was merely “clarifying”—in the sense that it did not change
Congress’s understanding of existing law—it cannot reasonably be characterized as “minor.”
Certainly it is not the sort of action Congress would have taken if it understood § 1365(a) at that
time as redundant.

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       Although the 1996 amendment is dispositive, there are additional flaws with the

Committee’s argument that § 1365 was enacted when Congress had not yet eliminated the amount-

in-controversy requirement for all federal-question claims. Opp. at 38-40. For example, while the

Committee contends that the removal of the amount-in-controversy requirement from § 1331 in

1976 sufficed to permit Congress to enforce its subpoenas against the Executive Branch, the

Committee cites absolutely nothing in the legislative history of § 1331 suggesting that the amount-

in-controversy requirement was lifted with congressional subpoenas in mind. Similarly, the

Committee points to nothing in § 1365’s legislative history suggesting that Congress viewed the

1976 change to § 1331 as sufficient to provide courts with jurisdiction over congressional

subpoena enforcement actions. Indeed, the legislative history of § 1365 strongly suggests that

Congress did not believe § 1331 conferred such authority. S. Rep. No. 95-170, at 16 (1977)

(“Presently, Congress can seek to enforce a subp[o]ena only by use of criminal [contempt]

proceedings [under 2 U.S.C. § 192] or by the impractical procedure of conducting its own trial

before the bar of the House of Representatives or the Senate.”); id. at 89 (recognizing that “a future

statute” might be needed to “specifically give the courts jurisdiction to hear a civil legal action

brought by Congress to enforce a subp[o]ena against an executive branch official”).9




   9
      The Committee, see Opp. at 40, points to a later passage from this report, stating that the
provision’s exception for Executive branch officials “is not intended to be a congressional finding
that the federal courts do not now have the authority to hear a civil action to enforce a subpoena
against an officer or employee of the federal government.” S. Rep. No. 95-170, at 91-92 (1977).
Contrary to the Committee, Defendants did not “ignore” that passage, and in fact discussed it at
length in the brief. See Mot. at 37-38 (explaining that this Senate report accompanied a Senate bill
that was later amended to omit a provision conferring subpoena-enforcement jurisdiction for the
House). In any event, in the very next sentence the report stated “However, if the federal courts
do not now have this authority, this statute does not confer it.” S. Rep. No. 95-170, at 92 (1977).
This sentence, along with the passages quoted above, belie the Committee’s assertion that
Congress enacted § 1365 with the understanding that enforcement actions against Executive
Branch officials “already fell within Section 1331.” Opp. at 40.


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        Relatedly, the Committee observes that “Section 1365 does not apply to the House” and

that “[t]he Section 1365 legislation removed a reference to the House because the House

committees had not had an opportunity to review the issues, and not because Congress intended to

deny the House subpoena authority if it already existed.” Opp. at 38 (citing H. R. Rep. No. 95-

1756, at 80 (1978)). But the Committee does not point to anything in the Conference Report

suggesting that the House or the Senate believed such authority “already existed.” And the

Conference Report indicates (or at least strongly suggests) that they did not.10

        Finally, the Committee argues that, notwithstanding all of this, the D.C. Circuit’s decision

in AT&T I establishes statutory jurisdiction here as a matter of binding circuit law. Opp. at 37. It

does not. Although AT&T I concerned the legal duty of a House subpoena recipient, the case

involved a suit brought by the Executive Branch against a private party, see 551 F.2d at 385, not a

suit brought by Congress against the Executive Branch.           No specific jurisdictional statute

delineated the circumstances where the Executive suit at issue in AT&T I could be brought, but the

Congressional suit at issue here is governed by the specific jurisdictional limitations that Congress

itself has enacted in § 1365 (and relatedly, where Congress has intended to provide a cause of

action for other specially-constituted committees, it has done so explicitly, see pp. 31-32, infra).

Moreover, AT&T I predated the 1996 amendments to § 1365(a) which, as discussed above, compel

the conclusion that § 1331 does not apply to lawsuits brought by Congress against the Executive

Branch.11



   10
       See H.R. Rep. No. 95-1756, at 80 (1978) (“The appropriate committees in the House also
have not considered the Senate’s proposal to confer jurisdiction on the courts to enforce
subp[o]enas of House and Senate committees. The Senate has twice voted to confer such
jurisdiction on the courts and desires at this time to confer jurisdiction on the courts to enforce
Senate subp[o]enas.”).
   11
      For similar reasons, the Committee’s reliance (Opp. at 42-43) on an OLC opinion that long
predates the 1996 amendments is unpersuasive.

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III.   In the Alternative, the Court Should Stay or Dismiss this Suit Without Prejudice To
       Allow the Constitutionally Mandated Accommodation Process To Proceed.

       The D.C. Circuit has explained that “[t]he Constitution contemplates” a process of

negotiation and mutual accommodation in inter-branch disputes like this one, United States v.

AT&T, 567 F.2d 121, 130 (D.C. Cir. 1977) (AT&T II), and the accommodation process has

dominated conflicts between the political branches over requests by Congress for information from

the Executive Branch, Mot. at 39.         For reasons previously explained, assuming that the

Committee’s stated interest in the Presidential audit program is genuine, the Committee brought

suit without adequately exhausting the possibilities for gathering additional information sufficient

to inform its supposed legislative interest in the program.

       As set out in Defendants’ motion to dismiss, before April 3, 2019, no one associated with

the Committee during the 116th Congress requested from the Department information about the

process by which the IRS audits and enforces the Federal tax laws against a sitting President.

Vaughan Decl. ¶ 9. Then, after not responding for nearly a month to the Secretary’s initial offer

to provide further information—and after issuing a subpoena accompanied by a letter that seemed

to dismiss the Department’s offer of additional information out of hand—Committee staff (but no

Committee members, Vaughan Decl. ¶ 42) attended one briefing on the Presidential audit process.

Mot. at 40-41; Vaughan Decl. ¶¶ 18-30 (describing chronology). The Committee then filed suit

before receiving responses to the list of 291 questions Committee staff had sent following the

briefing (a list prepared before the briefing, which included many questions the Department had

answered at the briefing). And it took this step not only without awaiting the Department’s

responses, but also without even answering the Department’s inquiries concerning which questions

the Committee wanted prioritized. Vaughan Decl. ¶¶ 51-56.

       The longstanding tradition of accommodation and negotiation establishes that judicial

intervention in sensitive inter-branch disputes of this nature should be a remedy of last resort. The

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Court should accordingly not proceed to the merits of the Committee’s claims until the Committee

has earnestly engaged in and exhausted the negotiation and accommodation process.              The

Committee makes a number of contrary arguments, but none withstand scrutiny.

       Initially, the Committee asserts that Defendants’ account of the parties’ correspondence is

“one-sided” as well as “incomplete.” Opp. at 43. But the Committee never explains why.

Certainly, the Committee does not seriously dispute the basic points Defendants have outlined—

that it filed suit following a single briefing, without awaiting the Department’s responses to its

follow up questions.     And notwithstanding the lack of a rational connection between the

Committee’s supposed legislative purpose of conducting oversight of the Presidential-audit

process and its request for tax returns and return information relating to a single taxpayer—most

of which concern years before President Trump assumed office—the Committee has never

suggested any willingness to consider alternative sources for the information it supposedly needs

to satisfy its newfound interest in legislating on the Presidential-audit process.

       The Committee further contends that resort to the accommodation process is appropriate

only “in the rare circumstance when the record ‘demonstrates the proximity of the parties to a

compromise.’” Opp. at 43 (quoting AT&T 1, 551 F.2d at 385). But although the D.C. Circuit

noted that the parties in AT&T had taken meaningful steps towards a compromise, this reference

does not suggest that a court may only stay or dismiss an action without prejudice when the parties

are already near an agreement. Such a requirement would be particularly inappropriate where, as

here, suit was filed before the Committee meaningfully explored the possibility for

accommodation.      It would also reward obstreperousness by opening the courthouse doors

whenever the House refuses even to open a meaningful dialogue in the accommodation process.

       The Committee also insists that, in deciding the accommodation issue, the Court must

ignore the correspondence discussed in the Vaughan declarations. Opp. at 16. In support of this


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proposition, the Committee asserts that staying or dismissing this case without prejudice based on

the Committee’s failure to exhaust the accommodation process represents a request for

“abstention” that is cognizable only under Rule 12(b)(6) (under which, according to the

Committee, the Court may not rely on matters outside the Complaint). Id. at 16, 43 n.46. This

assertion is doubly incorrect. For one, the Committee provides no support for its characterization

of this issue as involving abstention principles.12 But even if the Government’s accommodation

arguments are appropriately characterized as a request for judicial abstention, “[a] motion to

dismiss based upon abstention and primary jurisdiction grounds may be decided under Rule

12(b)(1).” Sierra Club v. Chesapeake Operating, LLC, 248 F. Supp. 3d 1194, 1199 (W.D. Okla.

2017) (collecting cases).13 Regardless of how the issue is analyzed, the Court is thus not required



   12
      The Committee cites AT&T II for that proposition, Opp. at 16, but that decision did not
describe staying or dismissing without prejudice in favor of the accommodation process as a form
of judicial abstention; indeed, AT&T II used the language of abstention 11 times, all of which
involved the Court’s discussion of the political-question doctrine. See, e.g., 567 F.2d at 123, 126.
And requiring negotiation and accommodation before adjudicating the merits of an inter-branch
controversy like this one does not resemble any of the traditional abstention doctrines—all of
which involve deferring to pending or future proceedings in some other tribunal. See, e.g., R.
Comm’n v. Pullman Co., 312 U.S. 496 (1941) (abstention pending certain state-court decisions on
questions of state law); Younger v. Harris, 401 U.S. 37 (1971) (generally barring federal courts
from enjoining pending state criminal proceedings); Burford v. Sun Oil Co., 319 U.S. 315 (1943)
(allowing federal courts to abstain in certain diversity cases involving complex questions of state
law); Colo. River Water Conservation Dist. v. United States, 424 U.S. 800 (1976) (allowing
abstention due to the presence of a concurrent proceeding under certain circumstances). If
anything, the accommodation process is more analogous to any number of pre-filing exhaustion
requirements, the resolution of which are not generally limited to the face of the complaint
regardless of whether they are termed jurisdictional. See, e.g., Turner v. Burnside, 541 F.3d 1077,
1082 (11th Cir. 2008) (concluding that statutory exhaustion requirement could be decided with
reference to outside materials, even though requirement was not jurisdictional).
   13
      See also Williams v. Pucinski, No. 01-cv-5588, 2002 WL 1585571, at *2 (N.D. Ill. July 12,
2002) (“Defendants’ motion to dismiss is based on the abstention doctrine. This kind of motion is
considered under Federal Rule of Civil Procedure 12(b)(1).”); Hanlin Grp., Inc. v. Power Auth. of
State of N.Y., 703 F. Supp. 305, 306 (S.D.N.Y. 1989) (“[Defendants’] motion is granted pursuant
to Fed. R. Civ. P. 12(b)(1) on the ground that this Court refuses jurisdiction over this action
pursuant to the Burford abstention doctrine.”); Delaney v. Specialized Loan Servicing, LLC, No.
15-cv-5260, 2015 WL 7776902, at *2 (N.D. Ill. Dec. 3, 2015) (staying case under Colorado River


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to blind itself to the relevant materials Defendants have provided (the accuracy of which the

Committee does not dispute). Were it otherwise, any plaintiff in sensitive inter-branch disputes

like this one could avoid its constitutional obligation to engage in negotiation and accommodation

merely through selective pleading.

       At bottom then, the Committee’s rejection of accommodation reduces to its claim that no

compromise is possible because Defendants have made clear that they will not—indeed, legally

cannot—supply the requested tax returns and return information. Opp. at 44-45, 47. But this

misstates the relevant inquiry. If the Committee had conceded that it was seeking President

Trump’s tax returns and return information as an end in itself (to make them public)—as the

Department and OLC concluded—Defendants’ position that they cannot lawfully supply that

material might preclude compromise. But the premise of the Committee’s lawsuit is that the

Committee wants these materials for a different, legitimate reason—namely, to inform potential

legislation on the general presidential-audit process. See Compl. ¶¶ 46-55.

       The Committee has provided no reason why sincere and good-faith discussions between

the parties could not reasonably be expected to address the Committee’s purported legislative

interest in how the presidential-audit program operates—or at least likely narrow the issues for the

Court to decide—without requiring access to the President’s tax returns and return information.




doctrine after explaining that, under Rule 12(b)(1), the Court could look beyond the allegations of
the Complaint in deciding the issue); 5B Fed. Prac. & Proc. Civ. § 1350 (3d ed.) (“Courts have
recognized a variety of other defenses that one normally would not think of as raising subject-
matter jurisdiction questions when considering a Rule 12(b)(1) motion, such as . . . the subject
matter is one over which the federal court should abstain from exercising jurisdiction.”). As
Defendants’ citation makes clear, courts have not been entirely consistent on this question. Opp.
at 16 (citing William Penn Apartments v. D.C. Court of Appeals, 39 F. Supp. 3d 11, 19-20 (D.D.C.
2014), which considered Younger abstention in the context of Rule 12(b)(6), albeit without
significant analysis of the issue); see also Mass. Delivery Ass’n v. Coakley, 671 F.3d 33, 40 (1st
Cir. 2012) (acknowledging disagreement among district courts within the First Circuit on this
point).

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The returns at issue do not contain any information about audit processes and, for four of the six

years of returns requested, are for years preceding the President’s time in office.

        The Committee responds “that it is seeking the President’s returns and audit-file

information not simply to assess the mandatory audit program in general, but also to assess whether

the auditing of this President’s returns has been subject to improper political influence and whether

this President’s tax situation suggests the need for revisions to the tax code.” Opp. at 44. But the

Committee nowhere adequately explains why it needs to see the requested tax returns—most of

which are for years before President Trump became President—to consider revisions to the tax

code writ large. And again, presumably the best way for the Committee to pursue its supposed

legislative interest in the subject of political influence is to obtain information from the Department

about how the Department ensures that its auditing process is free of political influence (some of

which Defendants provided with their motion to dismiss, see ECF No. 44-4 ¶¶ 14-21). Likewise,

the Committee references an “unsolicited communication from a federal employee” concerning

what the Committee describes as “evidence of possible misconduct” and potential “inappropriate

efforts to influence” the program. Opp. at 45. But the Committee does not explain how these

allegations are in any way related to its demand to see six years of tax returns and return

information, let alone why only the tax returns and return information can satisfy its supposed

legislative interest such that further negotiations are not even worthwhile.14



   14
      The Complaint is similarly unenlightening on this point. The Complaint references various
“legislative and oversight efforts relating to Presidential tax returns,” Compl. ¶ 51, as well as
certain bills “that could be implicated by President Trump’s returns,” id. ¶ 52. But with one
exception, all of the measures the Complaint describes involve legislation that would require or
encourage the President as well as certain other major officeholders and candidates to make their
tax returns publicly available. The Committee barely even attempts to explain why it plausibly
needs to review the content of President Trump’s tax returns and return information in considering
these pieces of legislation. The one exception—a bill the Committee describes as “amending the
Internal Revenue Code to limit the maximum deduction that can be claimed by a partner in a


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       For all of these reasons, even if this Court had jurisdiction to entertain this suit and even if

the Committee had stated a claim sufficient for purposes of Rule 12(b)(6), the Court should not

adjudicate the merits of this controversy until the parties have exhausted the accommodation

process such that it is clear that this Court’s intervention is actually necessary.

IV.    The Committee Fails to State a Claim.

       A.      The Committee Lacks a Cause of Action to Enforce Its Subpoenas and Section
               6103(f) Requests.

       The Committee does not contest, nor could it, that a plaintiff seeking to enforce a

substantive right in federal court must possess a procedural right of action to sue. See, e.g.,

Alexander v. Sandoval, 532 U.S. 273, 286 (2001) (“Like substantive federal law itself, private

rights of action to enforce federal law must be created by Congress”); Gonzaga Univ. v. Doe, 536

U.S. 274, 284 (2002) (“[E]ven where a statute is phrased in . . . explicit rights-created terms, a

plaintiff suing under an implied right of action still must show that the statute manifests an intent

‘to create not just a private right but also a private remedy.’” (quoting Sandoval, 532 U.S. at 286)).

While the Committee’s central claim here is that it has a statutory right to the President’s tax

returns pursuant to § 6103(f), it fails to articulate any concomitant right of action under the tax

code, see Mot. at 45-46. The Committee thus appears to concede that the statute does not create

such a judicial remedy.

       Indeed, the Committee argues that it has an implied right of action to enforce its

informational inquiries created, silently, by Article I itself. See Opp. at 48-50. This is an

extraordinary claim in light of Article I’s insistence on a careful enumeration of limited

Congressional powers, which stands in contrast with the corresponding vesting clauses of

executive and judicial power in Articles II and III, respectively. And the authorities the Committee


partnership that donates certain conservation easements,” id.—likewise has no apparent
relationship to the Committee’s request.

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cites do not support its remarkable claim. The Committee relies on Anderson v. Dunn, 19 U.S.

204, 230 (1821) and Marshall v. Gordon, 243 U.S. 521 (1917), for the proposition that it has “the

right to seek judicial redress of conduct that interferes with the discharge of its legislative

functions.” Opp. at 48. These cases, however, merely held that each House of Congress has

certain contempt powers, see Anderson, 19 U.S. at 230; Marshall, 243 U.S. at 533—powers that

the House has not even attempted to exercise here. The cases did not consider whether a single

house of Congress, much less a lone congressional committee, can decline to exercise contempt

powers and instead bring a civil lawsuit simply because it believes that route to be more “modest.”

Opp. at 28, 49. Moreover, in those cases, officers of Congress were the defendants and had been

sued by the private parties held in contempt in the context of a petition for habeas corpus, Marshall,

243 U.S. at 532, and an action for false imprisonment, Anderson, 19 U.S. at 204. Those rights of

action, in favor of individual persons subjected to the compulsory power of Congress, are based

on more than two centuries of historical practice. As Defendants have shown, no such historical

pedigree exists here. Mot. at 15-18, 31; see also In re Application of the U.S. Senate Permanent

Subcomm. on Investigations, 655 F.2d 1232, 1238 (D.C. Cir. 1981) (“Prior to 1978 Congress had

only two means of enforcing compliance with its subpoenas: a statutory criminal contempt

mechanism and the inherent congressional contempt power.” (footnotes omitted)).

       The Supreme Court’s holding in Reed, 277 U.S. 376, underscores the absence of any

historical pedigree. The Court observed there that “the established practice” of Congress was “to

rely on its own powers” to enforce its informational inquiries. Id. at 389. And, based on that

established practice, the Court held that it could not conclude that “the Senate . . . intend[ed] to

authorize the committee . . . to invoke the power of the Judicial Department” absent a clear

statement to that effect. Id. at 389. The Committee tries to diminish Reed by arguing that it was

only about whether authorization had been supplied by the full Senate so as to invoke the


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applicable jurisdictional statute at issue, Opp. at 49-50, but the Committee is wrong. The Supreme

Court expressly held that the “[a]uthority to exert the powers of the Senate to compel production

of evidence differs widely from authority to invoke judicial power to that purpose.” Reed, 277

U.S. at 389 (emphasis added). That is the same principle underlying the Supreme Court’s modern

cause-of-action jurisprudence. The Committee’s limited power to issue congressional subpoenas

or invoke § 6103(f) in proper circumstances does not equate to the ability to enforce those efforts

directly in federal court. Thus, while Reed confirms that authorization of the full House is

necessary for the Committee to represent the interests of the full House in any litigation, it does

not suggest that such authorization is sufficient. The Committee still needs a cause of action.

       Nor do general principles support an implied right of action emanating from Article I to

enforce the Committee’s subpoena. The Committee attempts to distinguish Sandoval and its

progeny by claiming these are only about statutory rights. See Opp. at 50. But the Supreme Court

has emphasized that, while “[t]he decision to recognize an implied cause of action under a statute

involves somewhat different considerations than when the question is whether to recognize an

implied cause of action to enforce a provision of the Constitution itself,” the inquiry is “similar.”

Ziglar v. Abbasi, 137 S. Ct. 1873, 1856 (2017). Key to that inquiry is “separation-of-powers

principles,” id., and the Committee cannot credibly suggest that such principles are not squarely

presented by a struggle between the Executive Branch and Congress over access to information

(much less one involving the confidential records of a sitting President). See also Jesner v. Arab

Bank, PLC, 138 S. Ct. 1386, 1398 (2018) (“litigation [that] implicates serious separation-of-

powers and [other] concerns[] . . . must be ‘subject to vigilant doorkeeping.’” (citations omitted)).

       The Committee also seeks to distinguish Abbasi and Jesner because they concerned

damages claims rather than the equitable relief the Committee seeks here, Opp. at 52, but that is

not a meaningful distinction. The Supreme Court held that whenever “‘a host of considerations . . .


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must be weighed and appraised’” before determining whether “the public interest would be served”

by a judicial remedy, those considerations “should be committed to ‘those who write the laws’

rather than ‘those who interpret them.’” Abbasi, 137 S. Ct. at 1857 (citation omitted). That

principle is not limited to damages claims, and it is squarely applicable here. Congress has never

said, or even implied, that it wants the courts to opine on the scope of the House’s power of inquiry

through a civil lawsuit initiated by a handful of members with delegated powers, thereby bypassing

the accommodation process and inviting zero-sum outcomes that may not serve the public interest.

Indeed, Congress has repeatedly declined to take the step of creating the judicial vehicle that the

Committee asserts here, even when invited to do so by the D.C. Circuit in Tobin v. United States,

306 F.2d 270, 276 (D.C. Cir. 1962). Thus, the fact that each House has a right to issue subpoenas

does not remotely mean that Congress as a whole would have intended individual Houses to sue

to enforce them (let alone individual committees). In these circumstances, the long tradition of

accommodation between the branches, as well as the fact that the “House retains the institutional

tools necessary to remedy any harm caused to this power by the Administration’s actions,” U.S.

House of Reps., 379 F. Supp. 3d at 20, counsels against finding an implied cause of action here.

See also Mot. at 46-47.

        B.      The Committee Cannot Invoke the Federal Courts’ Traditional Equity Powers

        The Committee similarly cannot invoke the federal courts’ equity jurisdiction, as this is not

a context where the “relief . . . requested . . . was traditionally accorded by courts of equity.” Grupo

Mexicano de Desarrolo, S.A. v. All. Bond Fund., Inc., 527 U.S. 308, 319 (1999). In determining

whether “traditional equitable powers” apply, particularly in a context where “separation-of-

powers principles” are central, Ziglar, 137 S. Ct. at 1857, historical context matters. See, e.g.,

Grupo Mexicano, 527 U.S. at 327-29 (observing that the equitable powers of the federal courts do

“not include the power to create remedies previously unknown to equity jurisprudence” and


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concluding, based on a historical analysis, that no cause of action existed because “the English

courts of equity did not actually exercise” the power asserted); Mistretta v. United States, 488 U.S.

361, 401 (1989) (noting that “traditional ways of conducting government . . . give meaning to the

Constitution”); see generally, Curtis A. Bradley & Trevor W. Morrison, Historical Gloss and the

Separation of Powers, 126 HARV. L. REV. 411 (2012). Here—as the Committee concedes—there

simply is no historical tradition of the courts adjudicating suits by the House to enforce subpoenas;

rather, the “history shows that the House has long secured compliance with its power to investigate

by using its own Sergeant at Arms to arrest and detain contemnors.” Opp. at 30 (emphasis added).

And with respect to disputes between the Executive and Congress, accommodation is the

tradition—not litigation. See Mot. at 38-39.

       The Committee therefore resorts to an expansive framing, arguing that the proper inquiry

is whether “federal courts of equity have traditionally accorded declaratory [or] injunctive relief

when Executive officials act contrary to or in excess of federal law” in general, rather than in

“precisely similar” cases. Opp. at 52. But Grupo Mexicano flatly forecloses this argument, as the

Supreme Court there carefully distinguished between suits by a creditor to retain a debtor’s assets

pre-judgment versus post-judgment. 527 U.S. at 330-32. In all events, the Committee cannot

seriously argue that allowing a component of Congress to invoke the courts’ equitable power to

enforce alleged informational rights against the Executive Branch where Congress itself has

declined to create a cause of action is interchangeable with, e.g., an action to “prevent an injurious

act by a public officer.” Armstrong v. Exceptional Child Ctr., Inc., 135 S. Ct. 1378, 1384 (2015)

(citing Carroll v. Safford, 44 U.S. (3 How.) 441, 463 (1845)); see also id. at 1385 (“The power of

federal courts of equity to enjoin unlawful executive action is subject to express and implied

statutory limitations.”). In the latter circumstance, the court is acting to protect individual liberty

from incursions by the government; in the former, it is tipping the constitutional balance in favor


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of one branch of government that already possesses its own constitutional powers and remedies.

Equating the two would mean disregarding the separation of powers principles underlying the

cause-of-action requirement and abdicating the “vigilant doorkeeping” demanded by those

principles. See Jesner, 138 S. Ct. at 1398.

        C.     The Declaratory Judgment Act Does Not Provide A Cause of Action

        The Committee is also wrong to assert that the Declaratory Judgment Act, 28 U.S.C.

§ 2201, permits it to proceed in this case absent a clear right of action. The Committee’s argument

boils down to the assertion that it may invoke the Declaratory Judgment Act because it has “rights

guaranteed elsewhere.” Opp. at 53. But as Defendants have shown, Mot. at 47, the existence of

rights is not the question; the question is whether the Committee has a judicial remedy guaranteed

elsewhere. See Walpin v. Corp. for Nat’l & Cmty. Serv., 718 F. Supp. 2d 18, 24 (D.D.C. 2010);

C & E Servs., Inc. of Wash. v. D.C. Water & Sewer Auth., 310 F.3d 197, 201 (D.C. Cir. 2002) (the

right must already be “judicially remediable”). Indeed, were that not the standard, the Declaratory

Judgment Act would, in essence, act as a universal cause of action—which is emphatically not the

law. See, e.g., Sandoval, 532 U.S. at 286.15

        D.     The APA Claims Fail as a Matter of Law

               1.     APA Review is Precluded by Statute

        The Committee’s continued invocation of the APA is similarly misplaced. The APA does



   15
      Moreover, even the Committee concedes that the Declaratory Judgment Act does not supply
jurisdiction, Opp. at 53-54, and it therefore seeks to invoke the jurisdictional grant of 28 U.S.C.
§ 1331, Opp. at 36-43. But under Skelly Oil Co. v. Phillips Petroleum Co., 339 U.S. 667 (1950),
where jurisdiction rests on § 1331, a plaintiff must show that a non-declaratory judgment action
could have been brought. See id. at 671-72 (with respect to “the power of the inferior federal
courts to entertain litigation within the restricted area to which the Constitution and Acts of
Congress confine them,” the Declaratory Judgment Act simply allows a plaintiff to pursue a
recognition of rights in lieu of an “immediately enforceable remedy like money damages or an
injunction”). The Committee fails to show that such a non-declaratory judgment suit could be
brought.

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not apply to the extent the relevant legal scheme “preclude[s] judicial review,” 5 U.S.C.

§ 701(a)(1), as determined “not only from its express language, but also from the structure of the

statutory scheme, its objectives, its legislative history, and the nature of the administrative action

involved.” Block v. Cmty. Nutrition Inst., 467 U.S. 340, 345 (1984). “‘[W]hen Congress has dealt

in particularity with a claim and [has] intended a specified remedy’—including its exceptions—to

be exclusive, that is the end of the matter; the APA does not undo the judgment.” Match-E-Be-

Nash-She-Wish Band of Pottawatomi Indians v. Patchak, 567 U.S. 209, 216 (2012) (quoting Block

v. N.D. ex rel. Bd. of Univ. & Sch. Lands, 461 U.S. 273, 286 n.22 (1983)).

       Here, Congress has dealt in particularity with efforts by congressional committees to

enforce their informational inquiries. It has sought to allow the Senate, but not the House, to

enforce its subpoenas through a civil lawsuit with the explicit exception of subpoenas “issued to

an officer or employee of the executive branch of the Federal Government acting within his or her

official capacity.” 28 U.S.C. § 1365(a); compare 2 U.S.C. §§ 288(b) & 288d (establishing Office

of Senate Legal Counsel and establishing procedures to authorize Counsel to bring civil subpoena

enforcement actions) with 2 U.SC. § 5571 (establishing House Office of General Counsel but

making no mention of authority to initiate suits). And where Congress has intended to provide a

cause of action for other specially-constituted committees, it has done so explicitly. See, e.g., Pub.

L. No. 93-190, § B, 87 Stat. 736 (Dec. 18, 1973) (creating cause of action for the Senate Select

Committee investigating the Watergate scandal to judicially enforce its subpoenas). That carefully

crafted scheme would be pointless if either house of Congress could enforce any Congressional

subpoena against a federal agency in federal court using the APA at any time. See Match-E-Be-

Nash, 567 U.S. at 216. The clear implication is that the House—which lacks the statutory authority

of the Senate—must enforce its subpoenas using the judicial process under the criminal contempt

statute, 2 U.S.C. § 192. Cf. United States v. House of Reps. of U.S., 556 F. Supp. 150, 152 (D.D.C.


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1983) (noting argument by House of Representatives, as defendant, that the only route to testing

the validity of a congressional subpoena was the “established criminal procedures” and observing

that “[c]ourts have been extremely reluctant to interfere with th[at] statutory scheme by

considering cases . . . seeking declaratory or injunctive relief”). This narrow availability of judicial

review makes sense in light of the historical context of accommodation by which these disputes

have almost always been resolved.

         The Committee counters that the true question is whether the tax code precludes judicial

review, Opp. at 56, but that argument does not advance its claim. As Defendants have shown, the

tax code does preclude judicial review by creating a cause of action for violations of § 6103(a),

see 26 U.S.C. § 7431, as well as a carefully delineated cause of action for taxpayers to enforce

certain informational rights created under the tax code, see 26 U.S.C. § 6110(f)(4), while declining

to create such a right under § 6103(f). See Mot. at 45 & n.20. Thus, absent any indication that

Congress intended its informational inquiries under § 6103(f) to be enforced differently than other

informational inquiries, it must be assumed that Congress intended the carefully crafted scheme

governing congressional subpoenas to be the enforcement scheme under § 6103(f) as well.16

                2.      Declining to Provide Information to Congress is Not “Agency Action”
                        Under the APA

         The Committee’s APA claims also fail for lack of reviewable “agency action.” As the D.C.

Circuit, in keeping with many other courts, has held, “[e]xecutive responses to congressional

reporting requirements” are not the type of agency action rendered reviewable under the APA.




    16
      In fact, this is the only conclusion that makes sense. Unlike members of the public, Congress
cannot grant itself informational rights. The parameters of its power of inquiry are already defined
by the Constitution. Thus, § 6103(f) does not create congressional “rights,” but rather imposes
limitations on the power of inquiry Congress would otherwise possess under the Constitution.
Section 6103(f) should therefore be construed to work in tandem with, not as a departure from,
Congress’s subpoena power.

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Nat’l Res. Def. Council, Inc. v. Hodel, 865 F.2d 288, 318 (D.C. Cir. 1988); see also Greenpeace

USA v. Stone, 748 F. Supp. 749, 765-66 (D. Haw. 1990); Guerrero v. Clinton, 157 F.3d 1190, 1195

(9th Cir. 1998); United States v. White, 869 F.2d 822, 829 (5th Cir. 1989); Coll. Sports Council v.

Gov’t Accountability Office, 421 F. Supp. 2d 59, 68 (D.D.C. 2006); Ctr. for Biological Diversity

v. Brennan, 571 F. Supp. 2d 1105, 1118 (N.D. Cal. 2007). The reason is straightforward—

Congress does not need the APA because “the most representative branch is not powerless to

vindicate its interests or ensure Executive fidelity to Legislative directives” through other means.

Hodel, 865 F.2d at 319.

       The Committee acknowledges this doctrine, but attempts to minimize it. First, it says that

this line of “reporting-requirement cases” has no application to § 6103(f), “which endows a

particular committee with a right of access to particular documents held by an Executive Branch

department.” Opp. at 59-60. But the distinction fails—§ 6103(f), like the statute at issue in Hodel

and other cases, requires an agency to make information available to Congress. Whether that is

done directly by statute (as in Hodel) or via a Congressional request (as in § 6103(f)) is immaterial,

particularly with respect to Hodel’s underlying point that Congress does not need a civil lawsuit

to negotiate its prerogatives with the Executive Branch. Thus, the fact that § 6103(f) purports to

“create specific rights in the tax-writing committees to receive tax returns and return information

on request,” Opp. at 60; but see supra note 16 (explaining that Congress cannot grant itself

informational rights it does not already possess), does not make it any different from myriad other

congressional reporting requirements that “are, of course, legion in federal law.” Hodel, 865 F.2d

at 317. And while Hodel did not address the “broad, theoretical question whether an inter-branch

reporting requirement can ever be reviewable in the absence of an express provision for judicial

review,” id. at 318 n.33, it held that such a requirement is not “agency action” under the APA,

which is the only relevant question here.


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               3.      The Committee is Not a ‘Person” Within the Meaning of the APA.

       Undoubtedly, a central reason that the D.C. Circuit concluded in Hodel that inter-branch

reporting is not “agency action” under the APA is the absurdity of the notion that Congress could

be a “person” attempting to invoke the APA to enforce “rights” it has purportedly created for itself

by statute. The Committee fails to cite a single case in which Congress, or one of its committees,

has been held to be a “person” entitled to sue and participate in administrative processes under the

APA. Instead, it relies on U.S. House of Representatives v. Burwell, 130 F. Supp. 3d 53, 78

(D.D.C. 2015). But that case did not consider whether Congress was a person pursuant to the

APA; it merely concluded that there was “precedent for the House filing suit to vindicate its rights

in other contexts,” i.e., suits that were not brought under the APA.

       The Committee also minimizes the concern that Congress “might be allowed to engage in

other forms of administrative practice under the APA,” Opp. at 62—a power it has disclaimed in

other contexts, Mot. at 55-56—by simply asserting that such practice would not be “improper,”

Opp. at 62. However, even that is incorrect. While legislators might be permitted to participate

in such processes in their individual capacities, the Committee purports to bring this lawsuit as an

instrumentality of Congress itself, which has no ability to participate in the regulatory processes

contemplated by the APA. See Consumer Energy Council of Am. v. Fed. Energy Regulatory

Comm’n, 673 F.2d 425, 474 (D.C. Cir. 1982) (explaining that separation of powers principles

preclude Congress from “‘participat[ing] . . . in the approval or disapproval of . . . [regulations]

‘enacted’ by the executive branch’” under the APA and similar statutes (citation omitted)). And

because congressional committees are not subject to the regulatory authority of administrative

agencies in their capacities as instrumentalities of Congress, they are unlike the state organizations

that the D.C. Circuit has held to be “person[s]” under the APA. Compare Maryland Dep't of

Human Res. v. Dep’t of Health & Human Servs., 763 F.2d 1441, 1443 (D.C. Cir. 1985) (state


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human resources department was a “person” that could invoke the APA where it challenged

agency’s determination that it “misspent $207,350 in federal grant monies” and disallowance of

federal reimbursement).17

        E.     The Committee’s Mandamus Claim Fails as a Matter of Law

        The Committee similarly fails to state a claim in mandamus. Rather than demonstrate the

“extraordinary circumstances” for which the writ of mandamus is reserved, Am. Hosp. Ass’n v.

Burwell, 812 F.3d 183, 189 (D.C. Cir. 2016), the Committee falls back on its conclusory assertion

that its “right to relief is plain.” Opp. at 63. But as Defendants have shown, because “Congress

has no freestanding right to information under the Constitution,” any request for records “can be

sustained only in aid of a legitimate investigation and only where Congress’s interest in the

information overcomes any constitutional interests of the individual resisting the inquiry.” Mot.

at 57. Whatever the scope of these rights, they are neither “clear and indisputable,” nor ministerial,

and the Committee fails to show otherwise. See Opp. at 63. Nor has the Committee exhausted

alternative avenues of relief, as it must do before mandamus can lie. Indeed, the Committee

entirely fails to respond to the Defendants’ arguments on this point, see id., and has thus failed to

establish a necessary element of its mandamus claim.

        F.     The Committee’s Non-Statutory Review Claim Fails as a Matter of Law

        Finally, the Committee does not state a claim under the non-statutory ultra vires doctrine.

As Defendants have shown—and the Committee does not dispute—this doctrine applies only



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       The Committee also relies on Gov’t of Manitoba v. Bernhardt, 923 F.3d 173, 181 (D.C. Cir.
2019), but that case did little more than acknowledge that states may be “person[s]” within the
meaning of the APA if they are subject to the regulatory authority of an agency. In so
acknowledging, however, the D.C. Circuit concluded that a Canadian province was not a “person”
under the circumstances of that case, because it had not been subject to the agency’s exercise of
its regulatory authority. See id. (discussing the definition of “person” and noting that “the APA
evinces no congressional intent to authorize a State as parens patriae to sue the federal
government”).

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when the government acts “without any authority whatever,” Pennhurst State Sch. & Hosp. v.

Halderman, 465 U.S. 89, 101 n.11 (1984). It does not apply to “error[s] of fact or law.” Physicians

Nat’l House Staff Ass’n v. Fanning, 642 F.2d 492, 496 (D.C. Cir. 1980) (en banc). Here,

Defendants are the “gatekeepers” of confidential taxpayer information, Tax Analysts v. IRS, 117

F.3d 607, 613 (D.C. Cir. 1997), and Congress lacks the “general authority to expose the private

affairs of individuals without justification in terms of the functions of Congress.” Watkins v.

United States, 354 U.S. 178, 187 (1957). Therefore, as part of his duties to take care that the laws

be faithfully executed, the Secretary must—at a minimum—make the threshold determination of

whether the information entrusted to him for safekeeping is properly disclosed under the governing

legal authorities. Whether the Secretary exercised that power correctly in this particular matter

goes to the propriety, not the authority, of his action. That inquiry is beyond the scope of ultra

vires review.

                                         CONCLUSION

       For the foregoing reasons, this Court should dismiss the Complaint in its entirety.


Dated: September 30, 2019                     Respectfully submitted,

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